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herein.)

esi W. Arnold, CSR

Tesi &

Arnold Court Reporting
1680 Thicket Cove

lississippi 28826

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Wtencded .

ele eee pe
6 } < Vou you eVer a deposition
to
Lf
LS AY Yes.
e Okay So you're iliar mh phe procedural,
O. Mea So youlre 1 t

29 how ii works?

3: Lat's ge ahead and agree fo tne
22 same situations.

23 MS. McCOY: Absolutely.

24 MR. MULLINS: And you want to read and sign

25 your deposition. Okay. And all of the cb ections

@

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iS
Le o Okay Sounty dO an

a7 A rh is my une chat ene

Jet
L

fhe investigation and

i; VES.

Ze Oo. Okay. And as a vesult of your use of the taser

20 on Me. Hunsucker, Gid Tiopah County or Sher:

24 impose any type of punishment on you?

Po

5 A. No, sir, they did not.

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16

ry
a

VOU aS

She was in

23 the isolation cell away from everybody, right

25 Q. So how could she --

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cou les

Trarce

-o 7
it rhe *

13 Q "She tried to hang herself

20 She ned a jailer and atlempted to .
- a r . % . a} } . a} a o mig deg
ob She was put inte isclation and shewn the taser multiple

z Limes. clothes were taken away. she

1

23 cuss and holler and disrupt the other prisoners.” fs that
24 your recollection? Or is that actually your words there

29 that F dust read?

oS

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3 n ttthe arnt
23 A, ~~ and it's go.

24 Q. Gkay.

But with

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orebe in you?

wires Cross on top of me, an

ng, you gek zapped, too.

one probe in, is it still a

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j fo
q
} &
1 oy Torys 1. ayy OF
= 4 Pla ib 22
m, 7 “7
a oF a

le back

| \

16 Oo. ho your resort, became violent,
Li hitting the glass on the window?

18 feet windows -- on the glass on

2) Oo. Ana chen you went

ho
L
Oo
oy

A hy vr 2
Zh Ay, 165.

295 Q. Okay. And, here, I'il give you the benefit of

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~ ~
fhe

1G Qe That's im your ?
ay 7 - « T + 2 Sut
Ld A. Yes, |] heileve as. If you say it's

2 Bayo

? 4 7

1g Oo. io appreciate that
20 A. Because that was my signature or 18 a copy oi my

is one we didn't even cover.

24 A. On, yes, Mr. McNeely.

Ong 7

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door and

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an n
wa et

dear life. Would not let

md was holding on

2 go. JefS was trying to get | om -- his hand loose on

his side. I was trying to get the hand loose on my side.

b+}

24 His hands came free. doen't know why or how, whether we

25 forced it to or he tust let go, but, anyway, we got him

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L PRO PTTL 4b

tn metre et Poe ay he ay
Jt away From tne ply

The vaii or whatever if is vou thread -~

4 AL The hook in the wall. This an eye bolt in the

5

5 B. QGYounc?

7 A. Wnat? Six

oo
be
3
9
hoge
wo
®
Mae
uh
+

fs

A, A Foot-and-a-nalf.

13 Oo. Okay. How far is the eye bolt from tne toilet?

16 A. Oh, the hole in the middle? There's no way

that, at that point in time, that he could get to the hole

18 Q. How was he supposed to use the restroom?

20 A. Quieten down. Become not so violent. And then
al the jallers woulda do what they're supposed de.

22 Oo. You do xnow that he was in there almost

23 24 hours?

24 A. T heard that the next day, yes.

25 QO. And you know he had calmed down the next

